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AO 199A (as modified by the District of ldaho - Rev. 2/2018) Order Setting Conditions of Release Page 1 of 3 Pages

 

UNITED STATES DISTRICT CoURT

for the
DISTRICT OF IDAHG

 

United States of America

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Defendant

 

ORDER SETTING CONDITIONS GF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions: id §

(l) The defendant must not violate federal, state, or local law While on release.

 

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted_, must surrender as directed to serve a sentence
that the court may impose.

The defendant must appear at: As directed by counsel.

 

Place

 

GIl

 

Date and Time

If blank, defendant will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

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AC 1995 (as modified by the District of Idaho - Rev. 2/2018) Additional Conditions of Release Page l,af\ § Pages

( _) (6) IT IS FURTHER ORDERED that the defendant’ s release 1s subject to the conditions marked below:
Person or organization
AddreSS (cnly if above is an organization)
City and state 4 Tel No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer 111 the custodian’ s custody

`V/7S1gned `
Custoa'ian Dale
( (7 ) The defendant must: ~ - ` 4
( ) (a) submit to supervision by and report for supervision to Pretrial Services as directed , ` '
( ) (b) continue or actively seek employment

(C)
( (d)

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services officer.

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ADDITIONAL CONDITIONS OF RELEASE

 

 

 

 

 

continue or start an education program.

surrender any passport to: Pretn'al Services

not obtain a passport or other international travel document

abid by the following restrictions on personal associations, residence, or travel. The defendant’ s travel shall be restricted to:
( the District of Idaho, unless pre-approved by Pretrial Services ( ) other - 1 1

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avoid all cont ct directl or indirectly, Witha y e so who ls ownt eavict Nor Witnessinth investigation prosecution,
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return to custody each o’clock after being released at ' o ’cloclc fojefnplo rn nt, schoo mg, W
or the following purposes:
maintain residence ata residential re-ently center, as the pretrial services office or supervising officer considers necessary, and comply
with all rules and regulations of the facility .

 

 

 

 

 

 

 

not possess a fireann, destructive device, or other weapon
get medical or mental health treatment as directed by the pretrial services officer
( )_ You must pay all or part of the cost of the assessment and treatment based upon your ability to pay as determined by the pretrial

not use alcohol( ) at all ( )excessively.

not frequent establishments where alcohol' is the primary item of sale
not use or unlawfully possess a narcotic drug or other controlled substances defined` m 21 U. S. C § 802, unless prescribed by a licensed
medical practitioner. ( ) not use or unlawfully possess drug paraphernalia
submit to testing for a prohibited substance if required by the pretrial services office. Testing may be used with random frequency and may
include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or
testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of proh1b1ted substance screening
or testing.

( ) You must pay all or part of the cost of the testing based upon your ability to pay as determined by the pretrial services officer.
participate in a substance abuse assessment and participate in a program of inpatient or outpatient substance abuse therapy and
counseling if directed by the pretrial services off cer
( )You must pay all or part of the cost of the testing based upon your ability to pay as determined by the pretrial services officer.
participate in one of the following location monitoring programs and comply With all the program requirements which
( ) Will ( ) will not include location monitoring technology as directed by the pretrial services officer.

( ) (i) Curfew. You are restricted to your residence every ( ) from to , or ( ) as
directed by the pretrial services office. ' '

( » ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medicai, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved m advance by the pretrial services officer;

( ) (iii) Home Incarceration mm common requires technology) You are restricted to 24-hour-a-day lock-down at your residence
except for medical necessities and court appearances or other activities specifically approved by the court.

( ~) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services officer.

report as soon as pcssible, to the pretrial services officer, every contact with law enforcement personnel, including arrests, questioning,
or traffic stops

submit to Search of person residence, or vehicle at the request of the pretrial services officer and shall permit seizure of any contraband
found therein
provide the pretrial services officer with any requested financial information and shall not open any new lines of credit without the
pretrial services officer s approval
maintain current residence and shall not move or change residences without prior approval of the pretrial services officer and obey
established rules of the household
have no contact with any persons the defendant knows to be engaged' 1n criminal activity, or who are illegally using or possessing any
controlled substances
do not possess or use a device with intemet access ( ) or access the intemet, without prior permission from the pretrial services officer.

 

 

 

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AO 199C (as modified by the District of Idaho~Rev. 2/2018) Advice of Penalties ' Page 3 of 3 Pages

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCT~IONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment ls an additional prison tenn of not more than ten years
and for a federal misdemeanor offense the punishment 1s an additional piison term of not more than one year. This sentence will be
consecutive (i. e., in addition to) to any other sentence you receive.

It ls a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing

If, after release`, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, `or imprisonment for a term of fifteen years or more - you will be fined

not more than $250,000 or imprisoned for not more than lO years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years ~ you will be fined not

more than $250,00_0 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A' term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant .

l acknowledge that I am the defendant in this case and thatl am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. l am aware of the penalties and sanctions set forth above.

-j,/

/IW De endant' s Si atwe

Cig and Stale

   

 

Directions to the nited States Marshal

( 1,/) The defendant rs ORDERED released after processing
The United States marshal 1s ORDERED to keep the d endant m custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditio s for release. If still ln custody, the defendant must be produced before
the appropriate judge at the time and place specified

Date: 9 2.7)120\% _\

 

Judicial Ol??cer 's Signatw'e

RONALD E. BUSH. CHIEF U.S. MAGISTRATE .TUDGE

P)~inted name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. A'l"l`ORNEY U.S. MARSHAL

 

